                           IN THE UNITED STATES BANKRUPTCY COURT
                                ~()R THE I)IS'I'RIC'I' OF D~LAWAI2~

                                                              Chapter 11
In re:
                                                              Case No. 16-10238(MFV~
SFX ENTERTAINMENT,INC., et al.,l
                                                             (Jointly Administered)
                   Reorganized Debtors.
                                                              Related Docket No. 1825




         CERTIFICATION OF COUNSEL REGARDING ORDER GRANTING THE
          SFX LITIGATIOIoi TRUSTEE'S OBJECTIOliT TO JPiVIOHGAlo1 CHASE
                         BANK,N.A. PROOF OF CLAIM 405


                    1.        On November 1, 2018, Dean A. Ziehl, Litigation Trustee for the SFX

 Litigation Trust, as successor in interest to the estates (the "Litigation Trustee") ofthe above

 captioned debtors (the "Debtors"), filed The SFX Litigation Trustee's Objection to JPMorgan

 Chase Bank, N.A. ProofofClaim 405 [Docket No. 1825](the "Claim Objection")

                    2.        Responses to the Claim Objection were to be filed on or before 4:00 p.m.

(Eastern Time)on November 15, 2018 (the "Response Deadline").

                              The Litigation Trustee received an informal response from counsel to

 JPMorgan Chase Bank, N.A.(the "Claimant") who agreed to an estimation of its claim of $0.00.




     The Debtors in these Chapter 11 Cases, along with the last four(4) digits of each Debtor's federal talc identification number,
     if applicable, ar•e: 4308 Acquisition LLC (7350); Beatpoi~t, LLC (1024); Care Productions LLC (3613); EZ Festivals, LI,C
     (2693); Plavorus, Inc.(7119); ID&T/SP'X Mysteiyland LLC (6459); IDRT/SFX Noi`th America LLC (5154); ID&T/SFX Q-
     Dance LLC (6298); ID&T/SFX Sensation LLC (6460); IDcecT/SFX TomorrowWorld LLC (7238); LETMA Acquisition
     LLC (0452); Made Event, LLC (1127); Michigan JJ Holdings LLC (n/a); SFX Acquisition, LLC (1063); SFX Brazil LLC
     (0047); SFX Canada Inc. (7070); SFX Development I,LC (2102); SFX EDM Holdings Corporation (2460); SPX
     Entertainment, Inc. (0047); SFX EntertainmenC International, Inc. (2987); SFX Entertainment International II, Inc. (1998);
     SFX Intermediate Holdco II LLC (5954); SFX Managing Member Inc. (2428); SFX Marketing LLC (7734); SFX Platform
     & Sponsorship LLC (9234); SFX Technology Services, Inc.(0402); SPX/nB Live Event Canada, Inc.(6422); SFX/AB Live
     Event Intermediate Holdco LLC (8004); SFX/AB Live Event LLC (9703); SFX-94 LLC (5884); SFX-Disco Intermediate
     Holdco LLC (5441); SFX-Disco Operating LLC (5441); SFXF. TP LLC (0047); SFX-EMC, Inc. (7765); SEX-Hudson LLC
     (0047); SP'X-IDT N.A. Holding II LLC (4860); SFX-LIC Operating LLC (0950); SFX-1DT N.A. Holding LLC (2428);
     SEX-Nightlife Operating LLC (4673); SFXPeriyscope LLC (4724); SFX-React Operating I.,LC (0584); Spring Awakening,
     LLC (6390); SFX~ Netherlands I-Ioldings Cooperatief U,A.(6812); SFXE Netherlands Holdings B.V.(6898). The Debtors'
     business address is 902 Broadway, 15tH Ploar, New York, NY 10010.


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As of the date hereof, the Litigation Trustee has received no other objections or informal

comments to the Claim Objection.

                4.          Attached hereto as Exhibit A is a revised proposed OrdeN GNanting the

SFX Litigation Trustee 's Objection to JPMo~gan Chase Bank, N.A. ProofofClaim No. 405(the

"Proposed Order"). The Claimant has no objection to entry ofthe Proposed Order.

                5.          A blacklined copy of the Proposed Order in attached hereto as Exhibit B

showing changes made from the order attached to the Motion.

                6.          Accordingly, the Litigation Trustee respectfully requests entry of the

Proposed Order attached hereto as Exhibit A as the Court's earliest convenience.


Dated:    December 18, 2018                   PACHULSKI STANG ZIEHL &JONES LLP


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                                              Counsel to the Litigatzon Trustee




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